0011-35-EPIE35-00417472-441585

                                 UNITED STATES BANKRUPTCY COURT
                                                     NORTHERN DISTRICT OF OHIO
                                                         EASTERN DIVISION

In re: DANIEL I WILSON                                                                                  Case No.: 15-14517-aih

                 Debtor(s)

                      CHAPTER 13 STANDING TRUSTEE'S FINAL REPORT AND ACCOUNT
Craig Shopneck - CLEVELAND, chapter 13 trustee, submits the following Final Report and Account of the administration of the estate
pursuant to 11 U.S.C. Section 1302(b)(1). The trustee declares as follows:

1) The case was filed on 08/08/2015.
2) The plan was confirmed on 11/02/2015.
3) The plan was modified by order after confirmation pursuant to 11 U.S.C Section 1329 on NA.
4) The trustee filed action to remedy default by the debtor in performance under the plan on NA.
5) The case was completed on 10/19/2015.
6) Number of months from filing or conversion to last payment: 2.
7) Number of months case was pending: 15.
8) Total value of assets abandoned by court order: NA.
9) Total value of assets exempted: 138,225.00.
10) Amount of unsecured claims discharged without full payment: .00.
11) All checks distributed by the trustee relating to this case have cleared the bank.

 Receipts:
        Total paid by or on behalf of the debtor:         $12,029.55
        Less amount refunded to debtor:                    $9,318.55
 NET RECEIPTS:                                                                  $2,711.00

 Expenses of Administration:
        Attorney's Fees Paid Through The Plan:                                $2,200.00
        Court Costs:                                                               $.00
        Trustee Expenses and Compensation:                                      $114.31
        Other:                                                                     $.00
 TOTAL EXPENSES OF ADMINISTRATION:                                                                 $2,314.31

 Attorney fees paid and disclosed by debtor:               $800.00




 Scheduled Creditors:
Creditor                                                     Claim             Claim               Claim       Principal         Interest
Name                                         Class           Scheduled         Asserted            Allowed     Paid              Paid
CUYAHOGA COMMON PLEAS COURT                  Unsecured                 NA            NA                NA            .00              .00
HSBC BANK                                    Secured           78,290.00             NA                NA            .00              .00
HSBC BANK                                    Secured           42,000.00             NA                NA            .00              .00
HSBC MORTGAGE CORP                           Unsecured                 NA            NA                NA            .00              .00
HSBC MORTGAGE SERVICES                       Unsecured                 NA            NA                NA            .00              .00
HSBC MORTGAGE SERVICES                       Unsecured                 NA            NA                NA            .00              .00
JOHN D CLUNK                                 Unsecured                 NA            NA                NA            .00              .00
MARTHA R SPANER                              Unsecured                 NA            .00               .00           .00              .00
OCWEN LOAN SERVICING                         Unsecured                 NA            NA                NA            .00              .00
OCWEN LOAN SERVICING                         Unsecured                 NA            NA                NA            .00              .00
QUANTUM3 GROUP LLC                           Unsecured            400.00          246.63            246.63        246.63              .00




Page 1 of 2        15-14517-aih         Doc 35       FILED 12/08/16         ENTERED 12/08/16 11:45:37     Page
                                                                                                    UST Form       1 of(9/1/2009)
                                                                                                             101-13-FR-S 2
0011-35-EPIE35-00417472-441585

                                  UNITED STATES BANKRUPTCY COURT
                                                     NORTHERN DISTRICT OF OHIO
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In re: DANIEL I WILSON                                                                                  Case No.: 15-14517-aih

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                      CHAPTER 13 STANDING TRUSTEE'S FINAL REPORT AND ACCOUNT
 Scheduled Creditors:
Creditor                                                      Claim              Claim           Claim          Principal        Interest
Name                                         Class            Scheduled          Asserted        Allowed        Paid             Paid
QUANTUM3 GROUP LLC                           Unsecured                NA           150.06          150.06          150.06                .00

 Summary of Disbursements to Creditors:                                                          Claim          Principal        Interest
                                                                                                 Allowed        Paid             Paid
 Secured Payments:
     Mortgage Ongoing:                                                                                 .00             .00               .00
     Mortgage Arrearage:                                                                               .00             .00               .00
     Debt Secured by Vehicle:                                                                          .00             .00               .00
     All Other Secured:                                                                                .00             .00               .00
 TOTAL SECURED:                                                                                        .00             .00               .00

 Priority Unsecured Payments:
     Domestic Support Arrearage:                                                                       .00             .00               .00
     Domestic Support Ongoing:                                                                         .00             .00               .00
     All Other Priority:                                                                               .00             .00               .00
 TOTAL PRIORITY:                                                                                       .00             .00               .00

 GENERAL UNSECURED PAYMENTS:                                                                       396.69          396.69                .00

 Disbursements:
        Expenses of Administration:                                                             $2,314.31
        Disbursements to Creditors:                                                               $396.69
 TOTAL DISBURSEMENTS:                                                                                                           $2,711.00

    12) The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009, the estate has been fully administered, the
    foregoing summary is true and complete, and all administrative matters for which the trustee is responsible have been completed.
    The trustee requests a final decree be entered that discharges the trustee and grants such other relief as may be just and proper.


                   Date:     11/30/2016                                    By:   /s/Craig Shopneck - CLEVELAND
                                                                                 Standing Chapter 13 Trustee
           STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction Act
           exemption 5 C.F.R. Section 1320.4(a)(2) applies.




Page 2 of 2        15-14517-aih           Doc 35     FILED 12/08/16        ENTERED 12/08/16 11:45:37     Page
                                                                                                   UST Form       2 of(9/1/2009)
                                                                                                            101-13-FR-S 2
